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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                                  Crim. No. 19-305 (NEB/BRT)

                       Plaintiff,

 v.
                                                                 ORDER
 Neeraj Chopra

                       Defendant.


Julie E. Allyn, Esq., United States Attorney’s Office, counsel for Plaintiff.

Ryan Patrick Garry, Esq., Ryan Garry, Attorney, LLC, counsel for Defendant Neeraj
Chopra.


       This action came on for hearing before the Court on October 2, 2020, at the U.S.

Courthouse, 316 North Robert Street, St. Paul, MN 55101. The Defendant presented

various pretrial motions, and the Government presented a motion for discovery. Based on

the file and documents contained herein, along with the memoranda and arguments of

counsel, the Court makes the following Order:

       1.       Government’s Motion for Discovery Pursuant to Federal Rules of

Criminal Procedure 16(b), 12.1, 12.2, 12.3 and 26.2. The Government seeks disclosure

of documents and tangible objects, reports of examinations and tests, and a written

summary of expert testimony pursuant to Fed. R. Crim. P. 16(b). The Government also

seeks disclosure of any alibi by the Defendant pursuant to Fed. R. Crim. P. 12.1, and all

witness statements pursuant to Fed. R. Crim. P. 26.2. In addition, the Government seeks
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notice (by the pretrial-motions-hearing date) pursuant to Fed. R. Crim. P. 12.2, if

Defendant intends to rely upon the defense of insanity or introduce expert testimony

relating to a mental disease or defect or any other mental condition of the Defendant

bearing on the issue of guilt. The Government also seeks notice (by the pretrial-motions-

hearing date) pursuant to Fed. R. Crim. P. 12.3, if Defendant intends to rely upon the

defense of actual or believed exercise of public authority on behalf of a law enforcement

agency or federal intelligence agency at the time of the offense. Defendant filed no

objection to the motion. Therefore, Defendant is hereby ordered to comply with the

discovery and disclosure obligations under the aforementioned rules. The Government’s

Motion for Discovery Pursuant to Federal Rules of Criminal Procedure 16(b), 12.1, 12.2,

12.3 and 26.2 (Doc. No. 20) is GRANTED. The parties must disclose the identity of any

non-rebuttal experts and all non-rebuttal expert disclosures 30 days before trial. Any

rebuttal experts must be noticed along with the production of rebuttal expert disclosures

no later than 10 days before trial.

       2.       Defendant’s Motion for Suppression of Statement. Defendant seeks an

order suppressing the statement made by Defendant to Special Agent Rensch on April 8,

2019. The Government opposes the motion. The Court requests post-hearing briefing on

the issue. Defendant shall file his post-hearing brief no later than October 30, 2020, and

the Government shall file its response by November 13, 2020. The Court will take

Defendant’s Motion for Suppression of Statement (Doc. No. 21) under advisement on

November 13, 2020, and issue a Report and Recommendation to the District Court.



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       3.       Defendant’s Motion for Early Disclosure of Jencks Act Material.

Defendant moves for an order requiring the Government’s early compliance with the

Jencks Act, 18 U.S.C. § 3500, specifically requesting disclosure of Jencks Act material at

least two weeks prior to trial. The Government objects to this motion on the grounds that

this Circuit has repeatedly held that the government may not be required to make pretrial

disclosure of Jencks material. United States v. Sturdivant, 513 F.3d 795, 803 (8th Cir.

2008); see also United States v. White, 750 F.2d 726, 728–29 (8th Cir. 1984). Because

the Jencks Act plainly provides that “no statement or report in the possession of the

United States which was made by a Government witness or prospective Government

witness (other than the defendant) shall be the subject of subpoena, discovery, or

inspection until said witness has testified on direct examination in the trial of the case,”

Defendant’s Motion for Early Disclosure of Jencks Act Material (Doc. No. 23) is

DENIED. Nothing in this Order, however, precludes the Government from voluntary

reciprocal exchange of Jenks Act material with Defendant prior to trial as the

Government has represented.

       4.       Defendant’s Motion to Disclose Impeaching Information and

Exculpatory Evidence. Defendant moves, pursuant to Brady v. Maryland, 373 U.S. 83

(1963), Giglio v. United States, 405 U.S. 150 (1972), and their progeny, for an order

compelling the Government to disclose all evidence favorable to him, including that

which can be used to impeach Government witnesses. The Government states that it will

comply fully with its obligations under Brady and Giglio, but it asserts that Defendant’s

demand for “any psychiatric or emotional disorder” information involving the victim is

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“overly broad and unsupported.” (Doc. No. 40 at 7.) Defendant’s Motion to Disclose

Impeaching Information and Exculpatory Evidence (Doc. No. 24) is GRANTED IN

PART and DENIED IN PART, and Defendant’s Motion to Compel Government to

Disclose Evidence Favorable to the Defendant (Doc. No. 32) is GRANTED. Within 10

days of the date of this Order, the Government must disclose all Brady and Giglio

information in its possession or of which it has become aware as of the date of this Order

and must promptly supplement its disclosure upon receipt of any additional Brady and

Giglio information not previously disclosed. Defendant’s motions are otherwise denied.

        5.     Defendant’s Motion for Disclosure of Notice of Government’s Intent to

Use Residual Hearsay Exception Under Rule 807. Defendant moves, pursuant to Fed.

R. Evid. 807, for an order requiring the Government to provide notice of its intent to use

residual hearsay at least one month before trial. The Government states that it will fully

comply with its obligations under Rule 807, and represents that it will provide notice a

week before trial. Defendant’s Motion for Disclosure of Notice of Government’s Intent to

Use Residual Hearsay Exception Under Rule 807 (Doc. No. 26) is GRANTED IN

PART and DENIED IN PART. The Government must provide notice of intent to use

residual hearsay at least 14 days before trial.

       6.      Defendant’s Motion for Discovery and Inspection. Defendant requests

an order requiring the Government to produce or permit various items of inspection,

copying, and photographing pursuant to Fed. R. Crim. P. 16. The Government represents

that it has made all disclosures required under Rule 16, and that it will continue to

supplement its disclosures as additional materials come into its possession. Defendant’s

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Motion for Discovery and Inspection (Doc. No. 27) is GRANTED to the extent that it

conforms to Fed. R. Crim. P. 12, 16, and 26.2 and is not already moot. The motion is

DENIED to the extent that the Jencks Act protects disclosure, and identification of

witnesses shall be done in accordance with the District Court’s pretrial order on

disclosure of witness and exhibit lists. Within 10 days of the date of this Order, the

Government must disclose all Brady and Giglio information in its possession or of which

it has become aware as of the date of this Order and must promptly supplement its

disclosure upon receipt of any additional Brady and Giglio information not previously

disclosed.

       7.       Defendant’s Motion for Early Discovery of Expert Under

Rule 16(a)(1)(G). Defendant seeks an order requiring the Government to disclose a

written summary of any expert testimony the Government intends to use at trial. The

Government represents that it is fully aware of its obligations under the Fed. R. Crim. P.

16(a)(1)(G) and that it requests providing notice two weeks prior to trial. Defendant’s

Motion for Early Discovery of Expert Under Rule 16(a)(1)(G) (Doc. No. 28) is

GRANTED to the extent that it conforms to the scope of Rule 16. The parties must

disclose the identity of any non-rebuttal experts and all non-rebuttal expert disclosures

30 days before trial. Any rebuttal experts must be noticed along with the production of

rebuttal expert disclosures no later than 10 days before trial.

       8.       Defendant’s Motion to Retain Rough Notes and Evidence. Defendant

moves for an order requiring law enforcement agents to retain and preserve all rough

notes taken as part of their investigation into this case, and to preserve all evidence seized

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in the course of the investigation. The Government does not object to the motion and

represents that it has instructed its agents to do so. Defendant’s Motion for Government

Agents to Retain Rough Notes and Evidence (Doc. No. 29) is GRANTED. However,

disclosure of rough notes is not required by this Order.

       9.       Defendant’s Motion for Disclosure of 404 Evidence. Defendant moves

for immediate disclosure of any “bad act” or “similar course of conduct” evidence that

the Government intends to offer at trial pursuant to Fed. R. Evid. 404, and to further

direct the Government to identify the basis for the evidence’s admissibility and the

witnesses through whom such evidence will be presented at trial. The Government

objects to immediate disclosure, but represents that it will comply with Rule 404 and that

it is agreeable to disclosure 14 days prior to trial. Defendant’s Motion for Disclosure of

404 Evidence (Doc. No. 30) is GRANTED to the extent that the Government must

disclose Rule 404 evidence no later than 14 days prior to trial. Identification of witnesses

shall be done in accordance with the District Court’s pretrial order on disclosure of

witness and exhibit lists.

       10.      Defendant’s Motion for Grand Jury Testimony of Witnesses. Defendant

moves for pretrial disclosure of the grand jury witness testimony. The Government states

that it will provide grand jury transcripts for any witnesses it intends to call at the motions

hearing or at trial. Defendant’s Motion for Grand Jury Testimony of Witnesses (Doc.

No. 31) is GRANTED IN PART and DENIED IN PART. To the extent the Jencks Act

precludes disclosure, the motion is denied. However, as stated above, nothing precludes



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the Government from voluntarily producing the grand jury transcripts of trial witnesses

before trial, as it has represented it would do.

       11.    The voir dire, jury instructions, and trial related motions due date, along

with the trial date, are to be determined by U.S. District Judge Nancy E. Brasel.


Date: October 2, 2020
                                                         s/ Becky R. Thorson
                                                        BECKY R. THORSON
                                                        United States Magistrate Judge




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